Case 1:18-cv-00124-DJH-LLK Document 112 Filed 11/07/22 Page 1 of 2 PageID #: 8929
             Case: 21-5318 Document: 30 Filed: 11/07/2022 Page: 1




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                  100 EAST FIFTH STREET, ROOM 540
     Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
         Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                   Filed: November 07, 2022


  Mr. James J. Vilt Jr.
  Western District of Kentucky at Bowling Green
  241 E. Main Street
  Suite 120 Federal Building
  Bowling Green, KY 42101-0000

                       Re: Case No. 21-5318, Loandria Dahmer v. Western Kentucky University, et al
                           Originating Case No. 1:18-cv-00124

  Dear Mr. Vilt:

     Enclosed is a copy of the mandate filed in this case.

                                                   Sincerely yours,

                                                   s/Patricia J. Elder, Senior Case Manager
                                                    for Virginia Padgett, Case Manager

  cc: Ms. Lindsay Anne Cordes
      Ms. Ena V. Demir
      Mr. Thomas N. Kerrick
      Mr. Tad Thomas

  Enclosure
Case 1:18-cv-00124-DJH-LLK Document 112 Filed 11/07/22 Page 2 of 2 PageID #: 8930
             Case: 21-5318 Document: 30 Filed: 11/07/2022 Page: 2




                               UNITED STATES COURT OF APPEALS
                                    FOR THE SIXTH CIRCUIT

                                             ________________

                                                No: 21-5318
                                             ________________

                                                                        Filed: November 07, 2022

  LOANDRIA DAHMER

                  Plaintiff - Appellant

  v.

  WESTERN KENTUCKY UNIVERSITY; TIMOTHY CABONI; ANDREA P. ANDERSON;
  CHARLEY PRIDE

                  Defendants - Appellees



                                              MANDATE

       Pursuant to the court's disposition that was filed 10/13/2022 the mandate for this case hereby

  issues today.



  COSTS: None
